 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 1 of 21 Page ID #:1




 1   KIRAKOSIAN LAW, APC
 2   GREG L. KIRAKOSIAN SBN 294580
     HISTORIC ENGINE CO. NO. 28
 3   644 SOUTH FIGUEROA STREET
     LOS ANGELES, CALIFORNIA 90017-3411
 4   TEL: (213) 217-5032 / FAX: (213) 477-2355
     [GREG@KIRAKOSIANLAW.COM]
 5
 6   Attorneys for Plaintiff, JEREMY ARYEE
 7
 8                         UNITED STATES DISTRICT COURT

 9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

10
11    ESTATE OF ATHONY                                 CASE NO.: 2:18-cv-3861
      SODERBERG, decedent; and
12    SHIRLY SODERBERG, an                             COMPLAINT FOR DAMAGES:
      individual,
13                                                     1. VIOLATION OF CIVIL RIGHTS
                       Plaintiff,                         – EXCESSIVE FORCE;
14
                                                       2. VIOLATION OF CIVIL RIGHTS
15         vs.                                            – WRONGFUL DEATH;
                                                       3. VIOLATION OF CIVIL RIGHTS
16
      LOS ANGELES POLICE                                  – SUBSTANTIVE DUE
17    DEPARTMENT, a public entity; and                    PROCESS;
      DOES 1 through 50, inclusive,
                                                       4. VIOLATION OF CIVIL RIGHTS
18
                                                          – DEVEREAUX CLAIM;
19                      Defendants.                    5. VIOLATION OF CIVIL RIGHTS
                                                          – MONELL CLAIM;
20
21                                                     DEMAND FOR JURY TRIAL
22
23
24
25
26
27
28

                                                 -1-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 2 of 21 Page ID #:2




 1                                      INTRODUCTION
 2         1.     This action arises out of Civil Rights violations, 24 U.S.C. § 1983 et seq.,
 3   seeking compensatory and punitive damages against Defendants for committing
 4   unlawful acts under color of law which resulted in the officer-involved shooting
 5   wrongful death of Plaintiff Shirly Soderberg's son, Anthony Soderberg, on May 8, 2017.
 6         2.     Defendants named herein as DOE OFFICERS 1 through 30 ("DOE
 7   OFFICERS") proximately caused DECEDENT's death and Plaintiff's injuries by firing
 8   the shots that caused the unnecessary and untimely death of DECEDENT, by integrally
 9   participating or failing to intervene in the shooting, and by engaging in other acts and/or
10   omissions around the time of the shooting that resulted in DECEDENT's death. DOE
11   OFFICERS are directly liable for Plaintiff's injuries under federal law pursuant to 42
12   U.S.C. § 1983.
13         3.     Defendants CITY OF LOS ANGELES ("CITY") and DOES 31 - 50 also
14   proximately caused DECEDENT's and Plaintiff's injuries and are liable under state law
15   and under principles set forth in Monell v. Dept. of Social Services, 436 U.S. 658 (1978).
16                               JURISDICTION AND VENUE
17         4.     This Court has original jurisdiction pursuant to 28 U.S.C. §§
18   1331 and 1343(a)(3)-(4) because Plaintiffs assert claims arising under the laws of the
19   United States including 42 U.S.C. § 1983 and the Fourth, Eighth, and Fourteenth
20   Amendments of the United States Constitution. This Court has jurisdiction over the
21   entire action by virtue of the fact that this is a civil action wherein the matter in
22   controversy, exclusive of interest and costs, exceeds the jurisdictional minimum of the
23   Court. This Court has supplemental jurisdiction over Plaintiffs' claims arising under
24   state law pursuant to 28 U.S.C. § 1367(a), because those claims are so related to the
25   federal claims that they form part of the same case or controversy under Article III of
26   the United States Constitution. Venue is proper in this Court under 28 U.S.C. §
27   1391(b) because Defendants reside in this district and all incidents, events, and
28   occurrences giving rise to this action occurred in this district.

                                                 -2-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 3 of 21 Page ID #:3




 1                                          PARTIES
 2         5.      At all relevant times, DECEDENT ANTHONY SODERBERG was an
 3   individual residing in the City of Los Angeles, California, in the Central District of
 4   California.
 5         6.      Plaintiff SHIRLEY SODERBERG ("SHIRLY") is an individual residing
 6   in the City of Los Angeles, State of California and is the natural mother of DECEDENT.
 7   SHIRLEY sues both in her individual capacity as the mother of DECEDENT and in a
 8   representative capacity as a successor-in-interest to DECEDENT. SHIRLEY seeks both
 9   survival and wrongful death damages.
10         7.      Defendant THE CITY OF LOS ANGELES (“CITY”) is, and at all relevant
11   times was, a governmental entity organized and existing under the laws of the State of
12   California. At all relevant times, the LAPD is a law enforcement agency for the City of
13   Los Angeles, responsible for the training and supervision of its police officers, including
14   DOES 1 through 50. CITY is responsible for the actions, omissions, policies,
15   procedures, practices, and customs of its various agents and agencies, including the Los
16   Angeles Police Department (“LAPD”) and its agents and employees. At all relevant
17   times, Defendant CITY was responsible for assuring that the actions, omissions,
18   policies, procedures, practices, and customs of the and its employees and agents
19   complied with the laws of the United States and of the State of California. At all relevant
20   times, CITY was the employer of Defendants DOES 1 through 50.
21         8.      Plaintiffs allege that DOES 1 through 30 were law enforcement officers ("
22   DOE OFFICERS") acting under the color of state law. It is further alleged that DOES
23   1 through 30 are residence of the County of Los Angeles and were acting in the course
24   and scope of their employment at all relevant times. DOE OFFICERS were acting with
25   the complete authority and ratification of their principal, Defendant CITY.
26         9.      Defendants DOES 31 - 40 are supervisory officers for the CITY who were
27   acting under color of law within the course and scope of their duties as officers for the
28   Los Angeles Police Department. DOES 31 - 40 were acting with the complete authority

                                                -3-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 4 of 21 Page ID #:4




 1   and ratification of their principal, Defendant CITY.
 2         10.    Defendants DOES 41 - 50 are managerial, supervisorial, and policymaking
 3   employees of the LAPD, who were acting under color of law within the course and
 4   scope of their duties as managerial, supervisorial, and policymaking employees for the
 5   Los Angeles Police Department. DOES 41 - 50 were acting with the complete authority
 6   and ratification of their principal, Defendant CITY.
 7         11.    In doing the acts and failing and omitting to act as hereinafter described,
 8   Defendants DOE OFFICERS were acting on the implied and actual permission and
 9   consent of Defendants LAPD and DOES 31 - 50.
10         12.    In doing the acts and failing and omitting to act as hereinafter described,
11   Defendant DOE OFFICERS and DOES 31 - 50 were acting on the implied and actual
12   permission and consent of the CITY.
13         13.    Defendant DOES 31 - 50 are sued herein because they were and are
14   responsible for maintaining, creating, and ratifying unconstitutional practices and
15   policies which caused Plaintiffs' injuries; and because their inaction, their failure to
16   change policies, and failure to implement correct police procedures, policies, and
17   adequate training of Los Angeles Police officers has manifested a reckless and callous
18   indifference to Civil Rights violations, and which caused the constitutional injuries
19   suffered by Plaintiffs. Defendant DOES 31 - 50 are also sued because they set in motion
20   a series of acts by LAPD officers by his failure to implement proper training and tactics
21   for Police officers in dealing with and interacting with residents of the City of Los
22   Angeles. Said failures by DOES 31 - 50 caused the constitutional injuries suffered by
23   Plaintiffs. Individual liability is sought against Defendant DOES 31 - 50 because they
24   enforced the official policy, practice, and custom of the defendant CITY OF LOS
25   ANGELES of condoning, approving, and ratifying constitutional violations and
26   excessive use of force against the residents of the City of Los Angeles. DOES 31 - 50
27   are also sued in because they have been on notice that the training of officers has been
28   deficient in the areas of use of force, proper police tactics, and proper police procedures

                                                -4-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 5 of 21 Page ID #:5




 1   designed to preserve life. Proper police procedures and proper police tactics were not
 2   in place in the CITY OF LOS ANGELES; the training of officers had deteriorated, was
 3   defective, needed improvement; and that the failure to follow proper police tactics and
 4   the failure to provide proper training of officers was reckless and dangerous for the
 5   residents of Los Angeles. The inadequate training of police officers by Defendants
 6   CITY and DOES 31 - 50, and the failure to properly train officers amounts to reckless
 7   and deliberate indifference to the violation of Civil Rights of the residents of the City.
 8         14.    The true names and/or capacities, whether individual, corporate, associate
 9   or otherwise of Defendant DOES 1 through 50 are unknown to Plaintiffs at this time
10   and therefore Plaintiff files this Civil Rights Complaint against said DOE Defendants
11   by such fictitious names. Plaintiffs will seek leave of Court to amend this complaint
12   when the true names and capacities of said DOE Defendants are ascertained.
13         15.    All Defendants who are natural persons, including DOES 1-50, are sued
14   individually and/or in his/her official capacity as officers, sergeants, captains,
15   commanders, supervisors, and/or civilian employees, agents, policy makers, and
16   representatives for the Imperial County Sheriff's Department.
17         16.    Defendants DOES 1 through 50, were duly appointed police officers,
18   Sergeants, Lieutenants, Captains, Commanders, executives and/or policymakers of the
19   CITY OF LOS ANGELES POLICE DEPARTMENT, a department and subdivision of
20   defendant CITY OF LOS ANGELES, and at all times mentioned herein said defendants
21   were acting in the course and scope of their employment with defendant CITY OF LOS
22   ANGELES which is liable under the doctrine of respondent superior pursuant to section
23   815.2, 820, and 820.8 of the California Government Code.
24         17.    Plaintiffs are informed and believes, and based upon such information and
25   belief, allege that each Defendant and Defendants sued herein as DOES 1 through 50
26   are contractually, strictly, vicariously liable and/or otherwise legally responsible in
27   some manner for each and every act, omission, obligation, event or happening set forth
28   in this Complaint.

                                                -5-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 6 of 21 Page ID #:6




 1          18.    The use of the term "Defendants" or "officers" in any of the allegations of
 2   this Complaint, unless specifically set forth as otherwise, is intended to include and
 3   charge both jointly and severally, not only named Defendants, but all Defendants
 4   designated as DOES 1 through 50 as well.
 5          19.    Plaintiffs are informed and believe and thereon allege that at all relevant
 6   times each of the Defendants and DOE Defendants, in addition to acting for himself,
 7   herself, or itself and on his, her, or its own behalf, is and was acting as the agent, servant,
 8   employee and representative of, and with the knowledge, consent, and permission of
 9   each and all of the Defendants.
10          20.    Plaintiffs further allege that the acts of each of the Defendants were fully
11   ratified by each and all other Defendants. Specifically, and without limitation, Plaintiffs
12   allege on information and belief that the actions, failures to act, and breaches alleged
13   herein are attributed to one or more of the Defendants were approved, ratified, and done
14   with the cooperation and knowledge of each and all of the other Defendants.
15          21.    DECEDENT died as a direct and proximate result of the actions of the
16   CITY and DOES 1 through 50. Defendants are directly liable for Plaintiff's injuries
17   under federal law pursuant to 42 U.S.C. § 1983.
18                   FACTS COMMON TO ALL CLAIMS FOR RELIEF
19          22.    Plaintiffs repeat and re-allege each and every allegation in preceding
20   paragraphs of this Complaint as if fully set forth herein.
21          23.    On May 8, 2017, around 9:00 a.m., DOE OFFICERS assigned to Foothill
22   Division responded to a radio call in the 11300 block of Alethea Drive in Sunland.
23          24.    DOE OFFICERS were responding to a home invasion call. Plaintiff is
24   informed and believes that the homeowner called the police upon seeing DECEDENT
25   aimlessly walking in the kitchen of the home and after he asked her for food and "for
26   some cookies."      At all relevant times, Plaintiffs are informed and believe that
27   Defendants knew DECEDENT was a mentally ill and/or mentally disabled person with
28   no intention to harm anyone.

                                                  -6-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 7 of 21 Page ID #:7




 1         25.    At approximately 2:45 p.m., DOE OFFICERS fired tear gas into the home
 2   to force DECEDENT out of the home. When DECEDENT emerged from the home, he
 3   was crawling, struggling, gasping for air, and unarmed.
 4         26.    Upon DECEDENT crawling out of the home, DECEDENT was
 5   unjustifiably shot by DOE OFFICERS, including DOE OFFICER from SWAT who
 6   fired from a helicopter.
 7         27.    The shooting by DOE OFFICERS was ordered, approved, ratified, and
 8   condoned by DOES 31 through 50.
 9         28.    Several of the witnesses to the incident have contradicted the official
10   version given by the LAPD. As a result of this wrongful, intentional and/or negligent
11   shooting, DECEDENT suffered several gun shots to his body which resulted in severe
12   injuries which eventually caused his death.
13         29.    In    shooting   DECEDENT,         Defendants     violated   DECEDENT's
14   constitutional rights under the Fourth Amendment of the Constitution of the United
15   States which guarantees the right to be free from unreasonable seizure, excessive force,
16   and due process.
17         30.    Upon exiting the home, DECEDENT was unarmed, did not pose a threat
18   to anyone, including said Defendants who shot him. Accordingly, the shooting of
19   DECEDENT was unjustified, and this use of force was unreasonable and excessive
20   under the circumstances in violation of the Fourth Amendment. None of the Defendant
21   Officers sustained any injuries during their interaction with DECEDENT.
22         31.    The use of deadly force was excessive and objectively unreasonable under
23   the circumstances, especially because DECEDENT did not pose an immediate threat of
24   serious bodily injury to anyone at the time of the shooting.
25         32.    At the time of the shooting, a reasonable officer in the position of
26   Defendants would not believe that DECEDENT posed an imminent threat of death or
27   serious physical injury to anyone. Further, there were several alternative means of
28   responding to the situation without using deadly force.

                                               -7-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 8 of 21 Page ID #:8




 1          33.    Defendants unjustified shooting of DECEDENT deprived DECEDENT of
 2   his right to be secure in his person against unreasonable searches and seizures as
 3   guaranteed to him under the Fourth Amendment to the United States Constitution and
 4   applied to state actors by the Fourteenth Amendment, and further deprived DECEDENT
 5   of due process as guaranteed to him under the Fourteenth Amendment to the United
 6   States Constitution. Defendants integrally participated or failed to intervene.
 7          34.    As a result of the aforementioned excessive and unreasonable force,
 8   DECEDENT was caused loss of enjoyment of life, severe pain and suffering, and
 9   ultimately died.
10          35.    The shooting and use of force violated Defendants' training. Accordingly,
11   Defendant DOE OFFICERS are liable to Plaintiff for compensatory and punitive
12   damages, including both survival damages and wrongful death damages, under 42
13   U.S.C. § 1983.
14          36.    Upon information and belief, after being shot, DECEDENT was immobile,
15   bleeding profusely, and in obvious and critical need of emergency medical care and
16   treatment. Despite DECEDENT's physical state, Defendants did not timely summon
17   medical care or permit medical personnel to treat DECEDENT. The delay of medical
18   care to DECEDENT caused DECEDENT extreme physical and emotional pain and
19   suffering and was a contributing cause of DECEDENT's death.
20          37.    Plaintiff SHIRLY was dependent on DECEDENT, to some extent, for the
21   necessities of life.
22          38.    SHIRLY is DECEDENT's successors-in-interest and succeeds to
23   DECEDENT's interest in this action as the natural mother of DECEDENT.
24          39.    The shooting of DECEDENT was a result of the unconstitutional policies,
25   practices and procedures in place at the City of Los Angeles Police Department
26   regarding the use of firearms and other restraining devices against unarmed suspects.
27   Said policies, practices and procedures were sanctioned, authorized and ratified by the
28   Defendants CITY OF LOS ANGELES and DOES 31 through 50 and by supervising

                                                -8-
 Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 9 of 21 Page ID #:9




 1   and administrative personnel, including but not limited to Sergeants, Lieutenants,
 2   Captains, Commanders, and other supervising staff. The City of Los Angeles and DOES
 3   31 through 50 ratify and condone the intentional and/or negligent use of force by LAPD
 4   officers. The City of Los Angeles and the Los Angeles Police Department ratifies,
 5   condones, and acquiesces in the filing of false police reports to “cover up” negligent
 6   and/or excessive use of force. The CITY OF LOS ANGELES and the Los Angeles
 7   Police Department ratifies, condones, and acquiesces, in the falsification of evidence,
 8   the “planting” of evidence to “cover up” the negligent and/or excessive use of force,
 9   false arrests, and other police misconduct. As a direct result of the death of
10   DECEDENT, Plaintiffs have suffered the loss of earnings and services of economic
11   value, and the loss of love, support and services of DECEDENT. Further, as a direct
12   result of the intentional and/or negligent use of force which was used against
13   DECEDENT, the present Plaintiffs' Fourteenth Amendment substantive due process
14   rights to be free from unwarranted state interference in Plaintiffs' familial relationship
15   with DECEDENT has been violated; and Defendants have intentionally interfered with
16   the parent-child relationship between SHIRTLY and the DECEDENT which was
17   caused by the acts and omissions of all of the Defendants in causing the death of her
18   son, Anthony Soderberg.
19         40.    Plaintiff, SHIRLEY, as personal representative of the ESTATE
20   ANTHONY SODERBERG claims damages for the conscious pain and suffering
21   incurred by DECEDENT, as provided for under 42 U.S.C. §1983.
22                               FIRST CLAIM FOR RELIEF
23                   VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
24                                   EXCESSIVE FORCE
25                          (Plaintiffs against DOES 1 through 50)
26         41.    Plaintiffs reallege and incorporate by reference the paragraphs and
27   allegations contained in all the preceding paragraphs of this complaint, as though fully
28   set forth herein.

                                                -9-
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 10 of 21 Page ID #:10




 1         42.    Defendant DOE OFFICERS used excessive force against DECEDENT
 2   when they shot him. DOE OFFICERS' unjustified excessive use of force deprived
 3   DECEDENT of his right to be secure in his person against unreasonable searches and
 4   seizures as guaranteed to DECEDENT under the Fourth Amendment to the United
 5   States Constitution and applied to state actors by the Fourteenth Amendment.
 6         43.    Based on the facts readily available and known to DOE OFFICERS, no
 7   reasonable conclusion could be drawn that force used was reasonable, as DECEDENT
 8   posed no immediate threat of death or seriously bodily injury at the time of the shooting.
 9   All objective facts readily available and known to DOE OFFICERS could have
10   reasonably led the officers to conclude that Plaintiff was a threat requiring the use
11   deadly force. As a result of the foregoing, DECEDENT suffered great physical pain and
12   emotional distress up to the time of his death, loss of enjoyment of life, loss of life, and
13   loss of earning capacity. Further, DOE OFFICERS' actions and use of force, including
14   shooting at DECEDENT, violated their training and standard police officer training.
15         44.    DOE OFFICERS, under color of law intentionally, recklessly, negligently,
16   unlawfully, with malice, fraud, and oppression violated Plaintiff’s Civil Rights and his
17   right to be secure in his person against unreasonable searches and seizures as guaranteed
18   to DECEDENT under the Fourth Amendment to the United States Constitution and
19   applied to state actors by the Fourteenth Amendment.
20         45.    Plaintiff further alleges that Defendants, with deliberate indifference to and
21   reckless disregard for the safety and well-being of Plaintiff, and in violation of the
22   Fourth and Fourteenth Amendments to the Constitution, committed or allow to be
23   committed, acts which deprived Plaintiff of his Constitutional rights without affording
24   him due process of law.
25         46.    DOE OFFICERS and DOES 31 through 50 directly participated and/or
26   aided and abetted in wrongful shooting of Plaintiff and engaged in efforts to cover up
27   said conduct by preparing or authorizing or approving false police reports, and/or aiding
28   and abetting the preparation, authorization or approval of false police reports to cover

                                                - 10 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 11 of 21 Page ID #:11




 1   up said wrongful arrest and violation of Plaintiff’s rights.
 2         47.     SHIRLEY brings this claim as successors-in-interest to the DECEDENT
 3   and seek both survival and wrongful death damages for the violation of DECEDENT's
 4   rights. Due to the conduct of Defendants, Plaintiff has suffered general damages and
 5   special damages, all in a sum to be proved at trial. Due to the conduct of Defendants,
 6   Plaintiff has been required to incur attorneys' fees and will continue to incur attorneys'
 7   fees, all to Plaintiff’s damage in a sum to be proved at trial and recoverable pursuant to
 8   42 U.S.C.§1988.
 9         48.     DOE OFFICERS and DOES 31 through 50 acted with a conscious
10   disregard of Plaintiff’s rights conferred upon them by Section 1983, Title 42 of the
11   United States Code, the Fourth Amendment to the United States Constitution and
12   California Civil Code Section 3333, by intentionally and unnecessarily causing him
13   great bodily injury and death.
14         49.     Said conduct of Defendants constitutes malice, oppression and/or fraud
15   under California Civil Code § 3294, entitling Plaintiff to punitive damages against the
16   individual Defendants in an amount suitable to punish and set an example of said
17   Defendants.
18                             SECOND CLAIM FOR RELIEF
19                   VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
20                                    WRONGFUL DEATH
21                           (Plaintiffs against DOES 1 through 50)
22         50.     Plaintiffs reallege and incorporate by reference the paragraphs and
23   allegations contained in all the preceding paragraphs of this complaint, as though fully
24   set forth herein.
25         51.     Defendant DOE OFFICERS used excessive force against DECEDENT
26   when they shot him. DOE OFFICERS' unjustified excessive use of force deprived
27   DECEDENT of his right to be secure in his person against unreasonable searches and
28   seizures as guaranteed to DECEDENT under the Fourth Amendment to the United

                                                - 11 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 12 of 21 Page ID #:12




 1   States Constitution and applied to state actors by the Fourteenth Amendment.
 2         52.    Based on the facts readily available and known to DOE OFFICERS, no
 3   reasonable conclusion could be drawn that force used was reasonable, as DECEDENT
 4   posed no immediate threat of death or seriously bodily injury at the time of the shooting.
 5   All objective facts readily available and known to DOE OFFICERS could have
 6   reasonably led the officers to conclude that Plaintiff was a threat requiring the use
 7   deadly force. As a result of the foregoing, DECEDENT suffered great physical pain and
 8   emotional distress up to the time of his death, loss of enjoyment of life, loss of life, and
 9   loss of earning capacity. Further, DOE OFFICERS' actions and use of force, including
10   shooting at DECEDENT, violated their training and standard police officer training.
11         53.    DOE OFFICERS, under color of law intentionally, recklessly, negligently,
12   unlawfully, with malice, fraud, and oppression violated Plaintiff’s Civil Rights and his
13   right to be secure in his person against unreasonable searches and seizures as guaranteed
14   to DECEDENT under the Fourth Amendment to the United States Constitution and
15   applied to state actors by the Fourteenth Amendment.
16         54.    Plaintiff further alleges that Defendants, with deliberate indifference to and
17   reckless disregard for the safety and well-being of Plaintiff, and in violation of the
18   Fourth and Fourteenth Amendments to the Constitution, committed or allow to be
19   committed, acts which deprived Plaintiff of his Constitutional rights without affording
20   him due process of law.
21         55.    DOE OFFICERS and DOES 31 through 50 directly participated and/or
22   aided and abetted in wrongful shooting of Plaintiff and engaged in efforts to cover up
23   said conduct by preparing or authorizing or approving false police reports, and/or aiding
24   and abetting the preparation, authorization or approval of false police reports to cover
25   up said wrongful arrest and violation of Plaintiff’s rights.
26         56.    SHIRLEY brings this claim as successors-in-interest to the DECEDENT,
27   and seek both survival and wrongful death damages for the violation of DECEDENT's
28   rights. Due to the conduct of Defendants, Plaintiff has suffered general damages and

                                                - 12 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 13 of 21 Page ID #:13




 1   special damages, all in a sum to be proved at trial. Due to the conduct of Defendants,
 2   Plaintiff has been required to incur attorneys' fees and will continue to incur attorneys'
 3   fees, all to Plaintiff’s damage in a sum to be proved at trial and recoverable pursuant to
 4   42 U.S.C.§1988.
 5         57.     DOE OFFICERS and DOES 31 through 50 acted with a conscious
 6   disregard of Plaintiff’s rights conferred upon them by Section 1983, Title 42 of the
 7   United States Code, the Fourth Amendment to the United States Constitution and
 8   California Civil Code Section 3333, by intentionally and unnecessarily causing him
 9   great bodily injury and death.
10         58.     Said conduct of Defendants constitutes malice, oppression and/or fraud
11   under California Civil Code § 3294, entitling Plaintiff to punitive damages against the
12   individual Defendants in an amount suitable to punish and set an example of said
13   Defendants.
14                               THIRD CLAIM FOR RELIEF
15                   VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
16                             SUBSTANTIVE DUE PROCESS
17                           (Plaintiffs against DOES 1 through 50)
18         59.     Plaintiffs reallege and incorporate by reference the paragraphs and
19   allegations contained in all the preceding paragraphs of this complaint, as though fully
20   set forth herein.
21         60.     Plaintiff SHIRLEY had a cognizable interest under the Due Process Clause
22   of the Fourteenth Amendment of the United States Constitution to be free from state
23   actions that deprive her of life, liberty, or property in such a manner as to shock the
24   conscience, including but not limited to unwarranted state interference in Plaintiff's
25   familial relationship with her son, DECEDENT.
26         61.     DECEDENT had a cognizable interest under the Due Process Clause of
27   the Fourteenth Amendment of the United States Constitution to be free from state
28   actions that deprive him of life, liberty, or property in a manner to shock the conscience.

                                                - 13 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 14 of 21 Page ID #:14




 1          62.    The aforementioned actions of DOE OFFICERS, along with other
 2   undiscovered conduct, shock the conscience, in that they acted with deliberate
 3   indifference to the constitutional rights of DECEDENT and Plaintiff, and with purpose
 4   to harm unrelated to any legitimate law enforcement objective.
 5          63.    As a direct and proximate result of these actions, DECEDENT experienced
 6   pain and suffering and eventually died. DOE OFFICERS thus violated the substantive
 7   due process rights of Plaintiff to be free from unwarranted interference with their
 8   familial relationship with DECEDENT
 9          64.    As a direct and proximate cause of the acts of DOE OFFICERS, Plaintiff
10   and DECEDENT suffered emotional distress, mental anguish, and pain. Plaintiffs have
11   also been deprived of the life-long love, companionship, comfort, support, society, care,
12   and sustenance of DECEDENT, and will continue to be so deprived for the remainder
13   of their natural life.
14          65.    The conduct of DOE OFFICERS was willful, wanton, malicious, and done
15   with reckless disregard for the rights and safety of DECEDENT and Plaintiff and
16   therefore warrants the imposition of exemplary and punitive damages as to Defendants
17   DOE OFFICERS.
18          66.    SHIRLEY bring this claim individually and as a successors-in-interest to
19   the DECEDENT and seek both survival and wrongful damages. Plaintiffs also seek
20   attorneys' fees under this claim.
21                              FOURTH CLAIM FOR RELIEF
22                    VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
23                                   DEVEREAUX CLAIM
24                            (Plaintiffs against DOES 1 through 50)
25          67.    Plaintiffs reallege and incorporate by reference the paragraphs and
26   allegations contained in all the preceding paragraphs of this complaint, as though fully
27   set forth herein.
28          68.    At all times material to this Complaint, Defendants (collectively

                                               - 14 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 15 of 21 Page ID #:15




 1   “Defendants”), were acting under color of the law in violating Plaintiff’s constitutional
 2   rights as herein under the First, Fourth and Fourteenth Amendments to the Constitution
 3   of the United States. The First, Fourth and Fourteenth Amendments are made applicable
 4   to the States pursuant to 42 U.S.C §1983.
 5          69.   Defendants deprived Plaintiff of rights, privileges, and immunities secured
 6   to him by the First, Fourth and Fourteenth Amendments to the United States
 7   Constitution by, inter alia, subjecting Plaintiff to an unlawful search and seizure,
 8   arresting and/or causing Plaintiff to be arrested without probable cause, conspiring to
 9   deprive Plaintiff of his constitutionally protected rights, submitting reports with
10   material omissions, providing falsehoods to secure an arrest and prosecution of
11   Plaintiff.
12          70.   Defendants directly participated and/or aided and abetted in the wrongful
13   arrest of Plaintiff and engaged in efforts to cover up said conduct by providing false
14   testimony, preparing or authorizing or approving false police reports, and/or aiding and
15   abetting the preparation, authorization, or approval of false police reports to maliciously
16   prosecute Plaintiff.
17          71.   Due to the conduct of Defendants, and each of them, Plaintiff has suffered
18   general damages and special damages, all in sum to be proved at trial. Due to the
19   conduct of Defendants, and each of them, Plaintiff has been required to incur attorneys’
20   fees and will continue to incur attorneys’ fees, all to Plaintiff’s damage in a sum to be
21   proved at trial and recoverable pursuant to 42 U.S.C. §1988.
22          72.   Defendants acted with a conscious disregard of Plaintiff’s rights conferred
23   upon him by Section 1983, Title 42 of the United States Code, the Fourth Amendment
24   to the United States Constitution and California Civil Code Section 3333, by
25   intentionally causing him injury and arresting him without probable cause. Defendants,
26   and each of them, had an interest in seeing Plaintiff charged with criminal conduct to
27   detract from Defendants unlawful arrest of Plaintiff and use of excessive force.
28          73.   Said conduct of Defendants constitutes malice, oppression and/or fraud,

                                                - 15 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 16 of 21 Page ID #:16




 1   entitling Plaintiff to punitive damages against individual Defendants in an amount
 2   suitable to punish and set an example of said Defendants.
 3                               FIFTH CLAIM FOR RELIEF
 4                    VIOLATION OF CIVIL RIGHTS (42 U.S.C. § 1983)
 5                                     MONNEL CLAIM
 6                              (Plaintiff against all Defendants)
 7            74.   Plaintiffs reallege and incorporate by reference the paragraphs and
 8   allegations contained in all the preceding paragraphs of this complaint, as though fully
 9   set forth herein.
10            75.   At all relevant times, DOES 1 through 50 acted under color of law. The
11   acts of DOE OFFICERS deprived DECEDENT and Plaintiffs of their particular rights under
12   the United States Constitution.
13            76.   Upon information and belief, DOES 31 - 50 were final policymaker, acting
14   under color of law, who had final policymaking authority concerning the acts of DOES
15   1 through 50, ratified DOES 1 through 50 acts and the bases for them. Upon information
16   and belief, the final policymaker knew of and specifically approved of DOES 1 through
17   50's acts.
18            77.   Upon information and belief, a final policymaker has determined that the
19   acts of DOES 1 through 50 were “within policy.”
20            78.   By reason of the aforementioned acts and omissions, Plaintiffs have
21   suffered loss of the love, companionship, affection, comfort, care, society, training,
22   guidance, and past and future support of DECEDENT. The aforementioned acts and
23   omissions also caused DECEDENT's pain and suffering, loss of enjoyment of life, and
24   death.
25            79.   Accordingly, Defendants CITY and DOES 1 through 50 each are liable to
26   Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
27            80.   Plaintiff SHIRLY bring this claim as a successors-in-interest to
28   DECEDENT, and seek both survival and wrongful death damages under this claim.

                                               - 16 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 17 of 21 Page ID #:17




 1   Plaintiffs also seek attorney's fees under this claim.
 2            81.   The training policies of Defendant CITY were not adequate to train its
 3   officers to handle the usual and recurring situations with which they must deal.
 4            82.   Defendant CITY was deliberately indifferent to the obvious consequences
 5   of its failure to train its officers adequately.
 6            83.   The failure of Defendant CITY to provide adequate training caused the
 7   deprivation of Plaintiffs' rights by DOES 1 through 50; that is, Defendants' failure to
 8   train is so closely related to the deprivation of the Plaintiff's rights as to be the moving
 9   force that caused the ultimate injury.
10            84.   On information and belief, CITY failed to train DOES 1 through 50
11   properly and adequately.
12            85.   By reason of the aforementioned acts and omissions, Plaintiff have
13   suffered loss of the love, companionship, affection, comfort, care, society, training,
14   guidance, and past and future support of DECEDENT. The aforementioned acts and
15   omissions also caused DECEDENT's pain and suffering, loss of enjoyment of life, and
16   death.
17            86.   Accordingly, Defendants the CITY and DOES 1 through 50 are each are
18   liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
19            87.   Plaintiffs bring this claim as a successors-in-interest to DECEDENT, and
20   seek both survival and wrongful death damages under this claim. Plaintiffs also seek
21   attorney fees under this claim.
22            88.   Defendants DOES 1 through 50 acted pursuant to an expressly adopted
23   official policy or a longstanding practice or custom of the Defendant CITY.
24            89.   On information and belief, DOES 1 through 50 were not disciplined,
25   reprimanded, retrained, suspended, or otherwise penalized in connection with
26   DECEDENT's death.
27            90.   DOES 1 through 50, together with other CITY policymakers and
28   supervisors, maintained, inter alia, the following unconstitutional customs, practices,

                                                  - 17 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 18 of 21 Page ID #:18




 1   and policies:
 2      (a) Using excessive force, including excessive deadly force;
 3      (b) Providing inadequate training regarding the use of deadly force;
 4      (c) Employing and retaining as police officers individuals such as DOES 1 through
 5         50, who Defendant CITY at all times material herein knew or reasonably should
 6         have known had dangerous propensities for abusing their authority and for using
 7         excessive force;
 8      (d) Inadequately supervising, training, controlling, assigning, and disciplining CITY
 9         officers, and other personnel, including DOES 1 through 50, who Defendant
10         CITY knew or in the exercise of reasonable care should have known had the
11         aforementioned propensities and character traits;
12      (e) Maintaining grossly inadequate procedures for reporting, supervising,
13         investigating, reviewing, disciplining and controlling misconduct by CITY
14         officers, DOES 1 through 50;
15      (f) Failing to adequately discipline CITY police officers, including DOES 1 through
16         50, for the above-referenced categories of misconduct, including “slaps on the
17         wrist,” discipline that is so slight as to be out of proportion to the magnitude of
18         the misconduct, and other inadequate discipline that is tantamount to encouraging
19         misconduct;
20      (g) Announcing that unjustified shootings are “within policy,” including shootings
21         that were later determined in court to be unconstitutional;
22      (h) Even where shootings are determined in court to be unconstitutional, refusing to
23         discipline, terminate, or retrain the officers involved;
24      (i) Maintaining a policy of inaction and an attitude of indifference towards soaring
25         numbers of police shootings, including by failing to discipline, retrain,
26         investigate, terminate, and recommend officers for criminal prosecution who
27         participate in unjustified shootings.
28         91.       By reason of the aforementioned acts and omissions, Plaintiffs have

                                               - 18 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 19 of 21 Page ID #:19




 1   suffered loss of the love, companionship, affection, comfort, care, society, training,
 2   guidance, and past and future support of DECEDENT. The aforementioned acts and
 3   omissions also caused DECEDENT's pain and suffering, loss of enjoyment of life, and
 4   death.
 5            92.   Defendants CITY and DOES 1 through 50, together with various other
 6   officials, whether named or unnamed, had either actual or constructive knowledge of
 7   the deficient policies, practices and customs alleged in the paragraphs above. Despite
 8   having knowledge as stated above, these defendants condoned, tolerated and through
 9   actions and inactions thereby ratified such policies. Said defendants also acted with
10   deliberate indifference to the foreseeable effects and consequences of these policies
11   with respect to the constitutional rights of DECEDENT, Plaintiff, and other individuals
12   similarly situated.
13            93.   By perpetrating, sanctioning, tolerating, and ratifying the outrageous
14   conduct and other wrongful acts, DOES 1 through 50 acted with intentional, reckless,
15   and callous disregard for the life of DECEDENT and for DECEDENT's and Plaintiff's
16   constitutional rights. Furthermore, the policies, practices, and customs implemented,
17   maintained, and still tolerated by Defendants CITY and DOES 1 through 50 were
18   affirmatively linked to and were a significantly influential force behind the injuries of
19   DECEDENT and Plaintiff.
20            94.   Accordingly, Defendants CITY and DOES 1 through 50 each are liable to
21   Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
22            95.   Plaintiffs bring this claim individually and as a successors-in-interest to
23   DECEDENT and seek both survival and wrongful death damages under this claim.
24   Plaintiff also seeks attorneys' fees under this claim.
25
26
27
28   ///

                                                - 19 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 20 of 21 Page ID #:20




 1                                   PRAYER FOR RELIEF
 2     WHEREFORE, Plaintiffs prays for judgment as follows:
 3        1.    For general damages in an amount to be determined by proof at trial;
 4        2.    For special damages in an amount to be determined by proof at trial;
 5        3.    For punitive and exemplary damages against Does 1 through 50;
 6        4.    For costs of suit;
 7        5.    For reasonable attorneys' fees and costs as provided by statute; and
 8        6.    For such other and further relief as the Court deems just and proper.
 9
10                             DEMAND FOR JURY TRIAL
11        Plaintiffs hereby demands a jury trial.
12
13   DATED: May 6, 2018                               KIRAKOSIAN LAW, APC
14
15                                            By: /s/ GREG L. KIRAKOSIAN                .




16                                               GREG L. KIRAKOSIAN
                                                 Attorneys for Plaintiffs
17
18
19
20
21
22
23
24
25
26
27
28

                                             - 20 -
Case 2:18-cv-03861-FMO-JPR Document 1 Filed 05/08/18 Page 21 of 21 Page ID #:21




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
